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Settee: appeliation 2021 MAR 22 PM 3:37
lindokuhle mnyandu el
COMMITTED NAME (if different) l UCT C JUR qT
n/a TATA A a CA LIF.
FULL ADDRESS INCLUDING NAME OF INSTITUTION "
c/o 1125 south sullivan street “a. ee

 

santa ana, california 92704
PRISON NUMBER (if applicable)

 

 

 

 

 

nia
UNITED STATES DISTRICT COURT
<8 CENTRAL DISTRICT OF CALIFORNIA
atu CASE NGS ? _
WO lindokuhle mnyandu él To be supplied by the Clerk
PLAINTIFF,
9 Case Cratim
: CIVIL
GAVIN NEWSOM PURSUANT TO (Check one)
SHIRLEY N. WEBER SEMEN ARTE RE 42 US.C. § 1983
XAVIER BECERRA PENT (5) 1'T) Bivens vy. Six Unknown Agents 403 U.S. 388 (1971)

 

 

A. PREVIOUS LAWSUITS
1. Have you brought any other lawsuits in a federal court werekammapeteee: [] Yes (No
2. If your answer to “1.” is yes, how many? n/a
Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an

attached piece of paper using the same outline.)
n/a

case claim
awa
CV-66 (7/97) Page | of 6

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a. Parties to this previous lawsuit:
Plaintiff__/a

 

Defendants _/2

 

b. Court "V/A

 

c. Docket or case number __/@

d. Name of judge to whom case was assigned _"/@

e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
appealed? Is it still pending?) _"/@

f. Issues raised: _/a

 

 

g. Approximate date of filing lawsuit: n/a

 

Approximate date of disposition _/@

B. EXHAUSTION OF ADMINISTRATIVE REMEDIES
claim

1. Is there a grievance procedure available at the institution where the events relating to your current
occurred? OJ Yes ro

. . clai
2. Have you filed a grievance concerning the facts relating to your current wonaplad UO Yes (ZNo

If your answer is no, explain why not__ Se attached affidavith™

 

 

3. Is the grievance procedure completed? LI Yes YANo

If your answer is no, explain why not ™ see attached affidavith™

 

 

4. Please attach copies of papers related to the grievance procedure.

Cc. JURISDICTION

claim case
This eedggguimmmetec leges that the civil <ggmms of plaintiff lindokuhle mnyandu el
(print plaintiffs name)

who aresenilyapaidon c/o 1125 south sullivan street, santa ana, california 92704

(mailing address or place of confinement)

 

were violated by the actions of the defendant(s) named below, which actions were directed against plaintiff at

te te oe

see attached affidavit***

 

(institution/city where violation occurred)
case claim

CIVIL ee,
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on (date or dates) 04 march 2021

 

(Claim 1) " (Claim IT) ° (Claim TIT)
NOTE: You need not name more than one defendant or allege more than one claim. If you are naming more than
five (5) defendants, make a copy of this page to provide the information for additional defendants.
|. Defendant _ GAVIN NEWSOM (HEIRS AND ASSIGNS) resides or works at

 

(full mame of first defendant)
1303 10TH STREET, SUITE 1173, SACRAMENTO, CALIFORNIA 95814
(full address of first defendant)

doing business as GOVERNOR OF CALIFORNIA

(defendant's position and title, if any)

 

The defendant is sued in his/her (Check one or both): individual Woorticial capacity.

Explain how this defendant was acting under color of law:
**see attached affidavit***

 

 

2. Defendant _SHIRLEY N. WEBER (HEIRS AND ASSIGNS) resides or works at

(full name of first defendant)
300 SOUTH SPRING STREET, #12TH, LOS ANGELES, CALIFORNIA 90013
(full address of first defendant)

doing business as SECRETARY OF STATE OF CALIFORNIA

(defendant's position and title, ifany)

 

 

 

The defendant is sued in his/her (Check one or both): ¥ individual Yefofticial capacity.

Explain how this defendant was acting under color of law:
***see attached affidavit***

 

 

3. Defendant XAVIER BECERRA (HEIRS AND ASSIGNS) resides or works at

(full name of first defendant)
300 SOUTH SPRING STREET, LOS ANGELES, CALIFORNIA 90013
(full address of first defendant)

doing business as ATTORNEY GENERAL OF CALIFORNIA

(defendant's position and title, if any)

 

 

 

The defendant is sued in his/her (Check one or both): Mindividual M official capacity.

Explain how this defendant was acting under color of law:
*““*see attached affidavit*"*

 

 

case claim
COUN TL, Reteptsegabaesiscannehanhepetimi
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(full name of first defendant)
259 EAST 20TH STREET, COSTA MESA, CALIFORNIA 92627
(full address of first defendant)

 

 

Ra epee Sere a INC
(defendant's position and title, if any)

 

The defendant is sued in his/her (Check one or both): Sihindividual CO) official capacity.

Explain how this defendant was acting under color of law:
““*see attached affidavit*™*

resides or works at

 

 

5. Defendant

 

(full name of first defendant)

 

(full address of first defendant)

 

(defendant's position and title, if any)

The defendant is sued in his/her (Check one or both): O1 individual 0 official capacity.

Explain how this defendant was acting under color of law:

resides or works at

 

 

case claim
CIVIL Shee,
CV-66 (7/97)

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D. CLAIMS*
case CLAIM I
The following civil sama has been violated:

tokek dk

see attached affidavit

 

 

 

 

 

 

 

 

 

 

 

 

 

Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each

DEFENDANT (by name) did to violate your right.
**see attached affidavit***

 

 

 

 

 

 

 

 

 

 

 

 

 

*/f there is more than one claim, describe the additional claim(s) on another attached piece of paper using the same
outline.

case claim

CIVIL Gee LE blade
CV-66 (7/97) Pave 5 of 6

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E. REQUEST FOR RELIEF

I believe that I am entitled to the following specific relief:

***see attached affidavit***

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

05 march 2021 fA) Wallies abel AYIA
(Date) (Signature of Plaintiff)

 

case claim
CIVIL Breit ella
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Sa
&

  

moorish national republic federal government
societas republicae ea al maurikanos
moorish divine and national movement for the earth
northwest amexem / south amexem / central amexem / north gate
all adjoining islands
the true and de jure natural people — heirs to the land

i.s.Lam.

 

 

writ in the nature for marriage bond dissolution, adverse claim, fiduciary
request, inter alia

affidavit of fact
+international document+

04 march 2021 - 1441 m.c.y.

to: UNITED STATES DISTRICT COURT FOR THE CENTRAL
DISTRICT OF CALIFORNIA SOUTHERN DIVISION
ATTN: KIRY GRAY, CLERK OF COURT

RONALD REAGAN FEDERAL BUILDING AND UNITED
STATES COURTHOUSE

411 WEST 4TH STREET, ROOM 1053

SANTA ANA, CA 92701-4516

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Z

particulars of claim

i.
parties
1. trustor’ + creditor + heir - executive beneficiary; lindokuhle mnyandu el
living sentient being [in propria persona, sui juris and sui haeredes, in solo proprio] of
the moorish empire - nation state; american moor national; ‘free white person’;

northwest amexem / north america / morocco.

2. FIRST DEFENDANT, GAVIN NEWSOM (HEIRS AND ASSIGNS) doing
business as GOVERNOR OF CALIFORNIA at 1303 10TH STREET, SUITE 1173,

SACRAMENTO, CALIFORNIA 95814.

3. SECOND DEFENDANT, SHIRLEY N. WEBER (HEIRS AND ASSIGNS)
doing business as SECRETARY OF STATE OF CALIFORNIA at 300 SOUTH

SPRING STREET, #12TH, LOS ANGELES, CALIFORNIA 90013.

4. THIRD DEFENDANT, XAVIER BECERRA (HEIRS AND ASSIGNS) doing
business as ATTORNEY GENERAL OF CALIFORNIA at 300 SOUTH SPRING

STREET, LOS ANGELES, CALIFORNIA 90013.

 

1 httos://www.scribd.com/document/427017497/Declaration-of-Allodial-Trust-Lindokuhle-Mnyandu-El

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«

5. FOURTH DEFENDANT, AKEEBA IVANA MAZE with a last known care of

address at 259 EAST 20TH STREET, COSTA MESA, CALIFORNIA 92627.

ii.
jurisdiction and venue
6. this UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT
OF CALIFORNIA SOUTHERN DIVISION has subject matter jurisdiction over this
case pursuant to title 28 united states code subsection 1331, which gives district

courts jurisdiction over all civil actions arising under the constitution, laws, and

treaties of the united states.

7. the aforementioned DEFENDANTS are UNITED STATES CORPORATION

COMPANY CITIZEN.

iii.
applicable law

8. pursuant to title 28 united states code subsection 1332 and article 3 section

2 of the constitution for the united states of america, diversity of citizenship is a primal

issue at law.

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9. therefore, the UNITED STATES DISTRICT COURT FOR THE CENTRAL
DISTRICT OF CALIFORNIA SOUTHERN DIVISION has proper jurisdiction, and is

obligated to hear and address my claim(s).

10. furthermore, and since the issue of diversity is primal in this matter, the
UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF

CALIFORNIA SOUTHERN DIVISION is the proper venue, ipso facto and ipso jure.

iv.

facts

 

11. whereas, i lindokuhle mnyandu el do hereby state for the record that on
the 24th of may 2018, a marriage* bond [third-party contract*] was initiated at
towson city by the clerk of the CIRCUIT COURT FOR BALTIMORE COUNTY

between ex rel: lindokuhle mnyandu and FOURTH DEFENDANT.

12. moreover, for the record on the record and let the record show + on the
paramount issue involving other matters and/or issues of estate [property], children
(heirs and beneficiaries) prior to this marriage bond [third-party contract], infer
alia, a prematrimonial agreement entered into by lindokuhle mnyandu el [ex rel:
lindokuhle mnyandu] and FOURTH DEFENDANT, dated may 9th 2018 is in place,

and it stands.

 

? third-party shipping instrument
5 linear contract (unconscionable contract)

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13. lastly, this court is obligated to ensure that my constitutionally secured right

to due process is not violated.

14. in conclusion, since the issue of diversity is primal in this matter, the
UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF
CALIFORNIA - THE SOUTHERN DIVISION is the proper venue, jpso facto and ipso

jure.

15. a jurisdictional challenge regarding the fraudulent ex parte action instituted
at the CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY - MARYLAND under
docket number: CAS16-03973 with a filing date of 11 february 2016, is hereby made

and entered on the record on this tribunal venue.

16. take further notice that service will be received and/or effectuated through

email.

V.

causes of action

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17. dissolve/terminate the marriage bond [linear and unconscionable
third-party contract] dated the 24th of may 2018 - due to irreconcilable

differences.

18. reversion of estate (trust) and fiduciary request.

vi
jury demand
19. lindokuhle mnyandu el asserts his right(s) under the seventh amendment
for the constitution for united states and demands, in accordance with federal rule of

civil procedure 38, a trial by jury on all issues.

vii
relief requested
20. consequently, comes now, lindokuhle mnyandu el, in propria persona,
sui juris, aboriginal indigenous american moor national; allodial ownership, and duty

to my corporeal and incorporeal hereditaments, and my unalienable estate.

21. therefore, i demand the reversion of my estate and recoupment of my

pecuniary interests.

22. relief sought is as follows:

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(a) dissolve/terminate the marriage bond [third-party
contract] with FOURTH DEFENDANT, with immediate

effect.

(b) FIRST DEFENDANT, SECOND DEFENDANT,
THIRD DEFENDANT, et alia, must reverse the estate,
a deed of trust and its warranty; all certificates and
licenses rescinded; and all pecuniary _ interest
(prospectus payout) on all assets generated by the
marriage bond [third-party contract] bank bond
instrument + in the sum totaling $45,000,000.00 (in lieu

of lawful money).

(c) enforce prematrimonial agreement entered into by
lindokuhle mnyandu e! [ex rel: lindokuhle mnyandu]

and FOURTH DEFENDANT, dated 09 may 2018.

(d) remove the unlawful and fraudulent ex parte action
instituted at the CIRCUIT COURT FOR PRINCE
GEORGE'S COUNTY - MARYLAND under docket

number: CAS16-03973 with a filing date of 11 february

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2016, to be dealt with in a diversity of citizenship +

consular venue.

23. furthermore, and since the issue of diversity is primal in this matter, the
UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF

CALIFORNIA SOUTHERN DIVISION is the proper venue, ipso facto and ipso jure.

24. whereas, the supreme law of the land being the constitution for the united
states of america and the treaty between the moorish government and the europeans
known as the united states of america of 1786 and 1787 - this case is related to the
treaties’ (contracts) in place, and the nationals of diverse nations - the proper

jurisdiction is federal court.

 

4 article 20 and article 21 of the treaty of peace and friendship of 1787 between united states
and moroccan empire

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upon my inherited status, i, lindokuhle mnyandu el consul/judge being a descendant of
the ancient moabites in other respects known as american moor, standing squarely
affirmed upon my oath to the ‘five points of light’ love, truth, peace, freedom, and justice;
being competent (in my own proper person) to attest to this affidavit upon which i place my
signature; whereas, i state, proclaim, and declare the following to be true, correct, not
misleading, and not intended to be presented for any misrepresented, ‘colored’ or improper
use or purpose.

ui jure <uo utitur, nemin facit ijuriam.
jure 4

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fam: AVA V AV \\\ > | iF VV Uy ri}

- Fe
authorized representative: a free moorish american national, natural person, aboriginal/indigene, in propria
persona, sui juris, and sui heredes in solo proprio. signature all rights reserved and retained; without prejudice

c/o 1125 south sullivan street, santa ana, california republic [zip exempt]

 

 

 

 
 

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Reversioner:

| Lindokuhle Mnyandu El, the living, sentient man and rightful Heir is not lost at sea; and ‘| Affirm,
Declare and Reclaim my Right of Reversion of ‘Estate’ and therefore | make no claim with respect to the
titles and misrepresented, CAPITALIZED (names/ Man-of-Straw, nom de guerre being presented as a title)
and | surrender and assign any and all ‘Reversionary Interest’ to the foreign, privately-owned, United States
(Unam Sanctam) and subsidiaries for full ‘Acquittance Discharge Settlement’ and ‘Closure’ of my reliance,
Title 12 USC 95a, Part 2; and | assume no liabilities and or debts however contrived among its corporate
associates; and | do not consent to stand as ‘Surety’ for the foreign, private, and for-profit UNITED
STATES (UNAM SANCTAM) INCORPORATED/U.S. Corporation company entity owners, directors or their
administrators, nor do | stand as ‘Surety’ for its subsidiaries or associates at any point, or moment in time.

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